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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

CYNTHIA WETZEL, on behalf of
herself and all other New Mexico
consumers similarly situated,

               Plaintiffs,

v.                                                    No. 1:20-cv-1213 DHU/DLM

DIESTEL TURKEY RANCH,

               Defendant.

                                        ORDER

       THIS MATTER comes before the Court sua sponte. IT IS ORDERED that the Court

will conduct a telephonic Status Conference on Tuesday, October 31, 2023, at 1:30p.m. MDT

to discuss scheduling deadlines.

       IT IS SO ORDERED.




                                         _______________________________________
                                         DAMIAN L. MARTINEZ
                                         UNITED STATES MAGISTRATE JUDGE
